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        class
   11

   12

   13
                                     UNITED STATES DISTRICT COURT
   14
                                   CENTRAL DISTRICT OF CALIFORNIA
   15
                                                 WESTERN DIVISION
   16
        ARAM TERTERYAN, TATYANA                                       Case No. 2:16-cv-02029-GW-KS
   17   DAVTYAN, and MARINE DAVTYAN,
        individually and on behalf of all others                      CLASS ACTION
   18   similarly situated,
                                                                      PLAINTIFFS’ MOTION FOR AWARD
                              Plaintiffs.                             OF ATTORNEYS’ FEES, COSTS, AND
   19                                                                 EXPENSES, AND SERVICE AWARDS
               v.                                                     AT FINAL APPROVAL
   20
        NISSAN MOTOR ACCEPTANCE                                       Date: August 22, 2022
   21   CORPORATION,                                                  Time: 8:30 a.m.
                                                                      Courtroom 9D – 9th Floor (1st St.)
   22                         DEFENDANT                               Hon. George H. Wu

                                                              /
   23

   24

   25
                          Memorandum of Points & Authorities in Support of Motion for Award of Attorneys' Fees
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   23   Paul, Johnson, Alston & Hunt v. Graulty, 886 F.2d 268 (9th Cir. 1989) ................................... 10
   23   Powers v. Eichen, 229 F.3d 1249 (9th Cir. 2000)........................................................................ 10
   24   Rodriguez v. W. Publ’g Corp., 563 F.3d 948 (9th Cir. 2009) ...................................................... 13
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    1                                              I. INTRODUCTION

    2          Plaintiffs Aram Terteryan, Tatyana Davtyan, Marine Davtyan (collectively, the “Class

        Representatives”) hereby request that the Court award $733,333.00 in attorneys’ fees and
    3
    3
        reasonable costs of $128,927.20 incurred in the prosecution and settlement of this class
    4
    4
        action brought on behalf of a class of individuals who had no relationship with Nissan
    5
    5
        Motor Acceptance Corporation (“NMAC”). NMAC used an automatic dialer and
    6
    6   prerecorded voice messages to place calls to the members of the class, none of whom had
    7
    7   consented to receive such calls. The case settled, and the Court granted preliminary
    8
    8   approval on October 11, 2019. This motion, along with final approval, is scheduled for

    9   August 22, 2022.
    9
   10          The combined lodestar for class counsel is $1,570,962.50. The total amount of
   10
        fees requested of $733,333.00 therefore represents approximately 47% of the lodestar.
   11
   11
        Such an award is appropriate given the terms of the Settlement Agreement in this case.
   12
   12
               Specifically, Paragraphs 5.02 and 5.03 of the Settlement Agreement and Release read
   13
   13   as follows:
   14
   14          5.02 Fees to Class Counsel. Class Counsel may petition for an award of
   15          Attorneys’ Fees not exceeding one third (33 1/3 %) of the Settlement Fund.
   15          Defendant shall not object to such an award of Attorneys’ Fees provided that the
   16          award does not exceed that amount.
   16
   17          5.03 Requests for Attorneys’ Fees and Costs. Any request for attorney's fees
   17          and costs to be paid from the Settlement Fund must be filed prior to the Final
   18          approval Hearing and be supported by a motion and brief in support of the
   18          requested fee. Any person who requests Attorneys' Fees in connection with this
   19          the Settlement must appear at the Final Approval Hearing either in person or
   19          through counsel. No party may pay Attorney's Fees, Costs or any Incentive
   20          Award relating to this Settlement unless approved by the Court. Class Counsel’s
   20          motion for an award of attorneys’ fees and expenses to be paid from the
   21          Settlement Fund shall be filed at least ten (10) days prior to the date for class
   21          members to object. Class Counsel shall be entitled to payment of the fees
   22          awarded by the Court out of the Settlement Fund. This Settlement will be binding
   22          and enforceable regardless of whether the Court approves the attorneys’ fees and
   23          costs sought by Class Counsel. In addition, no interest will accrue on such
   23          amounts at any time.
   24
   24   //
   25
   25                                                               3
                           Memorandum of Points & Authorities in Support of Motion for Award of Attorneys' Fees
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    1              Class counsel’s costs and expenses from the Settlement Fund (¶2.36) are part of the

    2   Settlement Costs (¶2.35)

    3
    3              2.35 “Settlement Costs” means all costs incurred by Plaintiffs, the Class and
                   their attorneys, including but not limited to Plaintiffs’ attorneys’ fees, costs of
    4
    4              suit, Plaintiffs’ expert or consultant fees, reasonable expenses incurred in
                   connection with the prosecution of the Action, any incentive payments paid to the
    5
    5              Class Representatives, notice costs, costs of claims administration and all other
                   costs of administering the settlement.
    6
    6
                   2.36 “Settlement Fund” means the non-reversionary cash sum of $2,200,000.00
    7
    7              that NMAC will pay to settle this Action and obtain a release of all Released
                   Claims. In no event shall NMAC be required to pay more than $2,200,000.00 to
    8
    8              obtain a release of the Released Claims.

    9
    9                                          II. STATEMENT OF THE CASE
   10
   10              On March 24, 2016, Mr. Terteryan 1 on behalf of himself and a putative class filed a
   11
   11   complaint in this matter in the United States District Court Central District of California,

   12
   12   alleging a violation of the Telephone Consumer Protection Act. The case involved NMAC

   13   calling a NMAC customers’ references or acquaintances to collect delinquent debts from the
   13
        borrower. Class Representatives alleged that NMAC placed these calls using an automated
   14
   14
        telephone dialing system to people who had not given NMAC consent to make these calls.
   15
   15
                   The TCPA prohibits calls and prerecorded messages to a person’s cell phone using an
   16
   16   Automatic Telephone Dialing System (“ATDS”) without the prior express consent of the called
   17
   17   party. Class members are non-customers who NMAC contacted as part of its efforts to collect on
   18   the account of a NMAC customer. None of the class members had consented to calls from
   18
   19   NMAC. Plaintiffs alleged that through analysis of NMAC’s records, broad notice to class
   19
   20   members, and a robust claims verification procedure, it would be possible to provide notice to
   20
   21   non-customer class members.
   21
            III. GENERAL DESCRIPTION OF CLASS COUNSEL’S SERVICES TO THE CLASS
   22
   22
                   Throughout this litigation – which spans over six years from the filing of the complaint
   23
   23   on March 24, 2016 through the date of this petition – Plaintiffs have been represented by
   24
   24
   25   1
            Ms. Tatyana Davtyan and Ms. Marine Davtyan were later added as putative class representatives.
   25                                                                     4
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    1   Kemnitzer, Barron & Krieg, LLP and Lyngklip & Associates, PLC. Bryan Kemnitzer (47

    2   years’ experience) and Ian Lyngklip (30 years’ experience) served as principal counsel for

        Plaintiffs in this case.
    3
    3
                On August 12, 2016, NMAC filed a Notice of Motion and Motion to Dismiss and
    4
    4
        Motion to Strike. The court denied both NMAC’s Motion to Strike and Motion to Dismiss in
    5
    5
        November of 2016. NMAC answered the First Amended Complaint on December 7, 2016. The
    6
    6   parties provided initial disclosures on November 30, 2016, and ultimately thousands of pages
    7
    7   of documents were produced by both parties during the discovery phase of the case.
    8
    8           The discovery process not only included production of documents, but also a number of

    9   Interrogatories and Requests for Admissions. NMAC produced a total of 14,053 documents.
    9
   10   Plaintiffs produced 80 documents, and documents were produced by cell phone carriers. In
   10
        addition, a total of 11 depositions were taken, including testimony from NMAC and its
   11
   11
        telecommunications service providers
   12
   12
                Plaintiffs also made a request to the Federal Trade Commission under the Freedom of
   13
   13   Information Act seeking information regarding consumer complaints relating to the Telephone
   14
   14   Consumer Protection Act against NMAC. The FTC responded by indicating that it had located
   15   35 responsive complaints.
   15
   16           In addition, subpoenas were sent to six entities for depositions and document
   16
   17   production, including AT&T Wireless, Verizon, Century, Metro PCS, T-Mobile, and US
   17
        Cellular. These subpoenas were sent out after plaintiffs filed a Motion for Preliminary
   18
   18
        Approval and after the court granted the Motion for Preliminary Approval on October 11,
   19
   19   2019. Class Counsel had to negotiate the subpoenas and record requests extensively over the
   20
   20   course of approximately two years.
   21
   21           This was hard fought litigation from the outset, requiring significant data discovery that
   22   triggered multiple data discovery disputes, thorny legal issues (see R. 131, Joint Status Report),
   22
   23   and three mediation sessions.
   23
   24           Class Counsel performed the following services to the Class:
   24
   25       •   Pursued document and data discovery to identify and define the Class, including
   25                                                                 5
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    1          enforcement via several meet and confers and Motion to Compel Discovery;

    2      •   Analyzed defense discovery and took Fed. R. Civ. P. 30(b)(6) depositions from a

               number of defense representatives and cell phone carriers’ depositions. These
    3
    3
               depositions, and the prior discovery and discovery enforcement efforts taken to prepare
    4
    4
               for them, were crucial in enabling Class Counsel to draft a Motion for Class
    5
    5
               Certification, and ultimately to prepare the case for settlement and preliminary
    6
    6          approval.
    7
    7      •   Engaged in three private JAMS mediations before the Honorable Ronald Sabraw;
    8
    8      •   Negotiated the Settlement Agreement and associated Claim Form and Settlement

    9          Notice for this Settlement; and
    9
   10      •   Prepared the Preliminary Approval Motion, responded to the Court’s changes and
   10
               questions regarding the Settlement, and are continuing to perform under the Court’s
   11
   11
               Preliminary Approval Order, including coordinating with the Settlement Administrator
   12
   12
               to assure execution of the notice plan, and filing this motion.
   13
   13                                                   IV. MEDIATION
   14
   14          The parties participated in a mediation with the Hon. Ronald Sabraw (Ret.) on
   15   September 22, 2017. After the first mediation, a second mediation took place on January 17,
   15
   16   2018. Between the two mediations, Plaintiffs’ counsel won a Motion to Compel class
   16
   17   discovery of nine months of data from NMAC.
   17
               A third mediation with the Judge Sabraw took place on June 6, 2018. After the third
   18
   18
        mediation, Judge Sabraw provided the parties with a Confidential Mediator’s Proposal on
   19
   19   August 24, 2018.
   20
   20          Following the third mediation and receipt of the Confidential Mediation Proposal, the
   21
   21   parties continued to discuss the possibility of settlement. In February of 2019, the parties
   22   entered into a Memorandum of Understanding and commenced drafting a Settlement
   22
   23   Agreement, which ultimately became the Settlement Agreement for purposes of preliminary
   23
   24   approval and final approval. Numerous revisions of the Settlement Agreement and Release
   24
   25   were drafted, and the parties signed the final Settlement Agreement in July of 2019.
   25                                                                6
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    1     V. EFFORTS TO IDENTIFY CALL RECIPIENTS/POTENTIAL CLASS MEMBERS

    2      After the parties entered into a settlement agreement and the Court had granted Preliminary

        Approval, it was then necessary to identify the class.
    3
    3
               As is the case with all “wrong number” TCPA class actions, the critical step in the class
    4
    4
        notice plan involves identifying the persons who received the calls from the defendant that are at
    5
    5
        issue in the lawsuit. Here, Class Counsel sought to identify the recipients of the calls at issue by
    6
    6   serving subpoenas on the major cell phone carriers in order to identify the owners of the cell
    7
    7   phone numbers to which NMAC had placed calls (Verizon, AT&T, T-Mobile, Metro PCS, US
    8
    8   Cellular, and Century Link). Those subpoenas were served in December 2019.

    9          To say that the cell phone carriers were uncooperative would be an understatement. As
    9
   10   set forth in the joint status report and request for hearing filed on March 29, 2022, and the
   10
        declaration of Bryan Kemnitzer, it was necessary to file an additional matter in the United
   11
   11
        States District Court Eastern District of Michigan in order to get the cell phone carriers to
   12
   12
        comply with subpoenas. The carriers conduct resulted in a substantial increase in class
   13
   13   counsel’s fees and costs.
   14
   14          (a) Carriers’ Response to Subpoenas
   15          Unfortunately, Class Counsel encountered numerous difficulties in obtaining the
   15
   16   necessary subscriber information from the carriers for the phone numbers at issue. No carrier
   16
   17   except US Cellular provided the data requested by the compliance deadline in the subpoena.
   17
        Some (but not all) of the carriers objected to providing the information sought in the subpoena
   18
   18
        unless notice of privacy rights were first provided to the subscribers in certain jurisdictions.
   19
   19   Class Counsel engaged in an extensive meet and confer process with legal counsel for the
   20
   20   carriers in an effort to resolve this issue. Although some issues were resolved, Class Counsel
   21
   21   were forced to file a separate action against the carriers in Michigan for the purpose of
   22   enforcing the subpoenas that had been issued.
   22
   23          The case in Michigan was filed in the United States District Court in the Eastern
   23
   24   District of Michigan, Southern Division case number 2:20-MC-50761-SFC-EAS.
   24
   25          The following orders were entered by the Eastern District of Michigan:
   25                                                                7
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    1          1. October 28, 2020 – Stipulated Order to Compel Verizon Wireless to Produce

    2              Documents in Response to Subpoena.

               2. November 19, 2020 – Stipulated Order Compelling AT&T Wireless to Produce
    3
    3
                   Documents in Response to Subpoena.
    4
    4
               3. January 4, 2021 – Stipulated Order Compelling T-Mobile to Produce Documents in
    5
    5
                   Response to Subpoena.
    6
    6          4. June 2, 2021– Stipulated Order to Compel AT&T Wireless to Produce Documents
    7
    7              in Response to Subpoena.
    8
    8          5. October 6, 2021 – Emergency Motion to Compel Compliance with Document

    9              Production Request and Court Order against T-Mobile.
    9
   10          6. November 10, 2021– Stipulated Order Compelling T-Mobile to Produce
   10
                   Documents in Response to Subpoena.
   11
   11
               (b) Cooperation of the Parties
   12
   12
               NMAC was also asked to provide the carriers with certain additional information they
   13
   13   requested regarding the dates of the calls to particular cell numbers. NMAC did provide such
   14
   14   information (confidentially) to the carriers in November of 2020, even though such information
   15   was not required under the terms of the Settlement Agreement.
   15
   16          Class Counsel provided periodic reports to this Court regarding the status of this
   16
   17   process and the difficulties that had been encountered (Dkts. 119, 121, 125, 128). The Joint
   17
        Status Report of July 9, 2021 (Ex. F), set forth the issues with the carriers as of that date, but
   18
   18
        additional assistance from the Michigan Court was necessary and resulted in the Stipulated
   19
   19   Order against T-Mobile compelling compliance with the subpoena. These difficulties
   20
   20   unfortunately resulted in a considerable delay in compiling the notice list and completing the
   21
   21   notice process. T-Mobile did not produce the subscriber information to the class administrator,
   22   KCC, until January 4, 2022.
   22
   23          (c) Compilation of Notice Class
   23
   24          After the completion of the subpoena process described above, 238,160 unique cell
   24
   25   numbers remained for which Class Counsel had identified a call recipient, but NMAC was
   25                                                                8
                            Memorandum of Points & Authorities in Support of Motion for Award of Attorneys' Fees
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     1   unable to match the recipient information with its customer and remove that cell number from

     2   the notice list.

                 In order to confirm that the owners of those 238,160 unique cell phones qualified to
     3
     3
         participate in the class settlement, Class Counsel elected to also use a “reverse phone look up”
     4
     4
         process, as set forth in the Settlement Agreement. Class counsel used that information identify
     5
     5
         the users of those to determine of those individuals were NMAC customers who should be
     6
     6   excluded from the class. 2 Class counsel concluded this additional step would be in the best
     7
     7   interests of class members, because it would likely eliminate additional cell phone numbers
     8
     8   from the notice population, reduce the cost of class notice, and increase the amount available

     9   for distribution to the class.
     9
    10           To that end, the class administrator, KCC, retained Pacific East on March 9, 2022 to
    10
         perform that reverse look up. On March 16, 2022, Pacific East provided the parties with the
    11
    11
         results of the reverse look up, which identified an additional 118,614 users of those phones
    12
    12
         who were actual NMAC customers, and therefore not qualified to participate in the class
    13
    13   settlement. Those unqualified individuals were removed from the class list.
    14
    14           This process was completed on March 24, 2022. As a result of these additional steps,
    15   Notice was sent out to 119,546 potential class members. These additional steps have reduced
    15
    16   the cost of class notice, which will benefit the class by increasing the settlement funds
    16
    17   available for distribution.
    17
             VI. REQUEST FOR AWARD OF ATTORNEYS’ FEES AND EXPENSES BASED ON
    18
    18
                                              THE SETTLEMENT AGREEMENT
    19
    19           This Court is required to ensure that attorneys' fees awarded pursuant to Federal Rule of
    20
    20   Civil Procedure 23(h) are reasonable. In re Online DVD-Rental Antitrust Litig., 779 F.3d 934,
    21
    21   949 (9th Cir. 2015); In re Wash. Pub. Power Supply Sys. Sec. Litig., 19 F.3d 1291,1294 n.2 (9th
    22
    22
    23   2
           Reverse phone look ups are frequently used to identify potential class members in wrong number TCPA cases.
    23   (Chinitz v. Intero Real Estate Servs., No. 18-cv-05623-BLF, 2020 U.S. Dist LEXIS 224999, at *8 (N.D. Cal. Dec. 1,
    24   2020); Gergetz v. Telenav, Inc., No. 16-CV-04261-BLF, 2018 WL 4691169, at *4 (N.D. Cal. Sept. 27, 2018);
    24   Knapper v. Cox Comm’ns, Inc., 329 F.R.D. 238, 245 (D. Ariz. 2019).) The Settlement Agreement in this case
         specifically contemplated that a reverse phone look up may be used to identify potential class members, in addition
    25   to the subpoena process described above. Settlement Agreement, § 7.01(c).
    25                                                                   9
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     1   Cir. 1994). This duty exists irrespective of whether an objection is lodged to the fee request.

     2   Zucker v. Occidental Petroleum Corp., 192 F.3d 1323, 1328-29 (9th Cir. 1999). The Court has

         discretion to choose whether to award fees based upon a either a “percentage-of-recovery” or
     3
     3
         “lodestar” basis. In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 556 (9th Cir. 2019),
     4
     4
         however, the resulting fee must be reasonable. In re Bluetooth Headset Prods. Liab. Litig., 654
     5
     5
         F.3d 935, 942 (9th Cir. 2011).
     6
     6          When using the percentage-of-recovery method, 25% represents a benchmark fee which
     7
     7   is presumptively reasonable. Powers v. Eichen, 229 F.3d 1249, 1256 (9th Cir. 2000); Torrisi v.
     8
     8   Tucson Elec. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993); Paul, Johnson, Alston & Hunt v.

     9   Graulty, 886 F.2d 268, 272 (9th Cir. 1989)). Any upward or downward adjustment from the 25%
     9
    10   benchmark requires that the court provide reasonable explanation for the deviation. Paul,
    10
         Johnson, Alston & Hunt v. Graulty, 886 F.2d 268, 273 (9th Cir. 1989). In setting the fee the
    11
    11
         Court should consider: (1) the results; (2) risk to class counsel; (3) secondary benefits of the
    12
    12
         settlement; (4) the market rate in the particular field of law; (5) the burdens class counsel
    13
    13   experienced; and (6) whether the fee was contingent. See In re Optical Disk Drive Prods.
    14
    14   Antitrust Litig., 959 F.3d 922, 930 (9th Cir. 2020); Vizcaino v. Microsoft Corp., 290 F.3d 1043,
    15   1048 (9th Cir. 2002). Courts that deviate from the 25% benchmark are encouraged to perform a
    15
    16   “cross-check” using lodestar method to confirm that the percentage-of-recovery amount is
    16
    17   reasonable. In re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 949 (9th Cir. 2015); Indirect
    17
         Purchaser Class v. Erwin (In re Optical Disk Drive Prods. Antitrust Litig.), 959 F.3d 922, 929-
    18
    18
         30 (9th Cir. 2020).
    19
    19          The lodestar method, involves ‘multiplying the number of hours the prevailing party
    20
    20   reasonably expended on the litigation by a reasonably hourly rate. Hensley v. Eckerhart, 461
    21
    21   U.S. 424, 437 (1983); Morales v. City of San Rafael, 96 F.3d 359, 363 (9th Cir. 1996). The
    22   reasonable hourly rate is determined by considering the “experience, skill, and reputation of
    22
    23   the attorney requesting fees.” Schwarz v. Sec’y of Health & Hum. Servs., 73 F.3d 895, 908 (9th
    23
    24   Cir. 1995). Here, in addition to their professional qualifications, Class Counsel have submitted
    24
    25   evidence of fee awards in prior cases in support of the reasonableness of their rates. (Kemnitzer
    25                                                                 10
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     1   Dec. ¶¶ 26-37; Lyngklip Dec. ¶¶ 9-10.) Rate determinations from other cases are satisfactory

     2   evidence of the prevailing market rate. United Steelworkers of Am. v. Phelps Dodge Corp., 896

         F. 2d 403, 407 (9th Cir. 1990). Counsel’s costs and expenses are summarized in the supporting
     3
     3
         declarations (Kemnitzer Dec. ¶ 6; Lyngklip Dec. ¶ 2;) and summarized in the following table:
     4
     4
                                 Table 1—Class Counsel’s Lodestar and Expenses
     5
     5        Firm                                      Fee Lodestar                  Expenses                       Total
     6        Kemnitzer Barron & Krieg                    $964,107.50                  $54,327.44             $1,018,434.94
     6
              Lyngklip & Associates                       $606,855.00                  $74,599.76                   $681,454.76
     7
     7        Total                                    $1,570,962.50                 $128,927.20              $1,699,889.70
     8
     8          Under the Settlement, defendants have agreed to pay Class Counsel’s fees and
     9
     9   expenses, as awarded by the Court, in an amount not exceeding $733,333.00 and expenses in

    10   the amount of $128,927.20, for a total of $862,260 from the Settlement Fund of
    10
    11   $2,200,000.00. (Settlement Agreement §5.02 and 5.03). Class Counsel request a fee award
    11
         equal to the maximum allowed under the Settlement Agreement, for a net fee award of
    12
    12
         $733,333.00, which reflects approximately 47%, of their lodestars:
    13
    13                      Table 2—Allocation of Fees Among Class Counsel Firms
    14                                                     % of                                                          % of
    14                                                                Requested
                       Firm             Fee Lodestar       Total                                                         Firm
                                                                      Fee Award
    15                                                   Lodestar                                                       Lodestar
    15
            Kemnitzer Barron &                                                                                           47%
                                                 $964,107.50                  61%              $447,333.00
    16      Krieg
    16
            Lyngklip & Associates                $606,855.00                  39%              $286,000.00               47%
    17                                                                                                                   47%
    17      Total                               $1,570,962.50                100%              $733,333.00
    18          The Customary Fee. Here, Class Counsel are not seeking any multiplier - asking
    18
    19   instead for percentage of fee recovery, which represents only a fraction of their lodestar. As
    19
    20   such, the lodestar crosscheck of the requested 33% results in a fee that is reasonable, and well
    20
    21   below the actual fees incurred. In light of the investment made and risks faced by Class
    21
         Counsel in the case. Plaintiffs’ fee request is reasonable.
    22
    22          The Contingent Nature of the Fee. Class Counsel undertook this class action on a
    23
    23   purely contingent basis, with no assurance of recovering fees or litigation costs. (Kemnitzer
    24
    24   Dec. ¶38.) Despite this lack of assurance, Class Counsel expended significant time and
    25
    25                                                               11
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     1   resources to prosecute the case on behalf of the Class.

     2           The Results Obtained. After conducting the necessary discovery and diligence, Class

         Counsel determined that the potential size of this case is significantly larger than defendants
     3
     3
         initially proposed to Class Counsel and the Court. Counsel was unable to make that
     4
     4
         determination without pursuing the data discovery from both NMAC and the cell phone
     5
     5
         carriers, which as explained above was a contested and protracted process that ultimately
     6
     6   required a sit-down session with both sides’ counsel in the Court’s jury room.
     7
     7           The Attorneys’ Experience, Reputation, and Ability. Class Counsel have
     8
     8   successfully prosecuted many complex consumer class actions. (Kemnitzer Dec. ¶¶ 23-24;

     9   Lyngklip Dec. ¶¶ 49-51.) Class Counsel’s reputation and skill in developing evidence
     9
    10   supporting liability, damages, and the propriety of class certification were key to reaching the
    10
         Settlement benefitting the Class.
    11
    11
                 In light of the quality of the representation provided by Class Counsel, the outstanding
    12
    12
         benefit to the Class obtained in the Settlement, the complexity of the case, and the risk of
    13
    13   nonpayment, a $733,333.00 - that is, approximately 47% of Class Counsels’ lodestar - plus
    14
    14   costs, is reasonable.
    15           The proposed Settlement is the result of Class Counsel’s thorough factual investigation
    15
    16   and litigation of novel legal issues. Class Counsel represented the Class by pursuing and
    16
    17   analyzing data discovery to determine whether the Class could be identified without the need
    17
         for self-identification.
    18
    18
                 Class Counsel negotiated the best settlement available for the Class, and has
    19
    19   acknowledged the limited success of the litigation by accepting a substantial cut in their
    20
    20   lodestar fees. There was no collusion here. Class Counsel respectfully requests that the Class
    21
    21   Counsel be awarded fees as requested above.
    22           Class Counsel Also Request an Award of $128,927.20 in Expenses Incurred in
    22
    23   Prosecuting this Litigation and Securing the Settlement for the Class
    23
    24           Plaintiffs respectfully request reimbursement of $128,927.20 in expenses incurred by
    24
    25   Class Counsel. These are detailed in the supporting declarations (Kemnitzer Dec. ¶6; Lyngklip
    25                                                                12
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     1   Dec. ¶ 3).

     2              VII.     CLASS REPRESENTATIVES REQUEST SERVICE AWARDS

                                                       OF UP TO $10,000 EACH
     3
     3
                  Pursuant to the Settlement Agreement Paragraph 5.04, the three class representatives
     4
     4
         are requesting of the Court a service award of up to $10,000.00 each.
     5
     5
                  5.04 Payment to the Class Representatives. The Class Representatives will ask
     6
     6            the Court to award each of them an incentive payment for the time and effort they
                  have personally invested in the Action on behalf of the Settlement Class.
     7
     7            Defendant shall not object to such incentive payment to be paid to Aram
                  Terteryan, Marine Davtyan, and Tatyana Davtyan, provided that the incentive
     8
     8            payment to each Class Representative does not exceed $10,000. Not until the
                  Judgment becomes final (as set forth in Sections 2.22 and 12.01) and within five
     9
     9            (5) days of the Judgment becoming final after receiving a W-9 form from Aram
                  Terteryan, Marine Davtyan, and Tatyana Davtyan, the Claims Administrator shall
    10
    10            pay to Class Counsel the amount of incentive payment awarded by the Court, and
                  Class Counsel shall disburse such funds.
    11
    11
    12            Plaintiffs have devoted their time for the benefit of other Class members,
    12
    13   notwithstanding the small amounts they stood to recover personally. (Aram Terteryan Dec. ¶¶
    13
         8-12, Tatyana Davtyan Dec. ¶¶ 8-12; Marine Davtyan 3 Dec. ¶¶ 8-12.) Throughout the case,
    14
    14
         they kept themselves apprised of the case’s progress, regularly asking questions, diligently
    15
    15   reviewing the filings and discovery Class Counsel sent to them and promptly responding to
    16
    16   Class Counsels’ requests. They responded to defendants’ extensive requests for admission,
    17
    17   interrogatories, and document requests, and were deposed by defendants.
    18            The Settlement Agreement provides for service awards of up to $10,000 to each of the
    18
    19   three Plaintiffs, as the Court may approve. (Settlement Agreement §5.04.) Service awards are
    19
    20   “intended to compensate class representatives for work done on behalf of the class, to make up
    20
         for financial or reputational risk undertaken in bringing the action, and, sometimes, to
    21
    21
         recognize their willingness to act as a private attorney general.” Rodriguez v. W. Publ’g Corp.,
    22
    22   563 F.3d 948, 958-59 (9th Cir. 2009). Courts have discretion to approve service awards based
    23
    23   on, inter alia, the amount of time and effort spent, the duration of the litigation, and the
    24
    24   3
          As of the date of the filing of this motion, counsel has not received the signed declaration from Marine Davtyan.
    25   This declaration will be submitted to the Court as soon as it is available.
    25                                                                  13
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     1   personal benefit (or lack thereof) as a result of the litigation. See In re Animation Workers

     2   Antitrust Litig., 2016 WL 6663005, at *9 (N.D. Cal. Nov. 11, 2016) (citations omitted). In the

         Ninth Circuit, a service award of $5,000 is presumptively reasonable. See In re Mego Fin.
     3
     3
         Corp. Sec. Litig., 213 F.3d 454, 463 (9th Cir. 2000), as amended (June 19, 2000); Covillo v.
     4
     4
         Specialtys Cafe, 2014 WL 954516, at *8 (N.D. Cal. Mar. 6, 2014) (“a $5,000 incentive award
     5
     5
         is presumptively reasonable”).
     6
     6                                              VIII. CONCLUSION
     7
     7          Plaintiffs and their Class Counsel respectfully request that the Court grant their request
     8
     8   for $733,333.00 in attorneys’ fees and costs of $128,927.20 as requested and allocated above,

     9   and service awards to each Plaintiff in the maximum amount, $10,000.
     9
    10   Dated: May 31, 2022                                     KEMNITZER, BARRON & KRIEG, LLP
    10
    11
    11
                                                      By:
    12
    12                                                           BRYAN KEMNITZER

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